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                      IN THE UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF GEORGIA
                                ATLANTA DIVISION

UNIVERSITY OF GEORGIA
ATHLETIC ASSOCIATION, INC.,

         Plaintiff,
                                                  Case No.: 1:25-cv-2255-TWT
v.

ABDUL REHMAN ENTERPRISES, et al.,

         Defendants.

                        NOTICE OF VOLUNTARY DISMISSAL
        Plaintiff University of Georgia Athletic Association, Inc., by and through

undersigned counsel and pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), hereby

voluntarily dismisses this action against the following Defendants without prejudice,

with each party to bear its own attorneys’ fees and costs:

     1. hai kou shi jin bin yue shang mao you xian gong si;

     2. Ohomie-Official; and

     3. TTONG Shop.

Dated: May 30, 2025.


                                 Respectfully submitted,
                                 THE SLADKUS LAW GROUP

                                 s/ Carrie A. Hanlon
                                 Carrie A. Hanlon
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